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 1   Roberta A. Kaplan*
     John C. Quinn*
 2   Matthew J. Craig (SBN 350030)
 3   Amit Jain*
     KAPLAN HECKER & FINK LLP
 4   350 Fifth Avenue, 63rd Floor
     New York, NY 10118
 5   (212) 763-0883
 6   rkaplan@kaplanhecker.com
     jquinn@kaplanhecker.com
 7   mcraig@kaplanhecker.com
     ajain@kaplanhecker.com
 8   * admitted pro hac vice
 9
     Attorneys for Defendants Center for
10   Countering Digital Hate, Inc. and
     Center for Countering Digital Hate Ltd.
11
12   [ADDITIONAL COUNSEL ON SIGNATURE PAGE]

13
                             UNITED STATES DISTRICT COURT
14                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
15
16
       X CORP.,                                        Case No. 3:23-cv-03836-CRB
17                                  Plaintiff,
18                                                     DEFENDANTS CENTER FOR
              v.                                       COUNTERING DIGITAL HATE,
19                                                     INC. AND CENTER FOR
       CENTER FOR COUNTERING DIGITAL                   COUNTERING DIGITAL HATE
20     HATE, INC., et al.,                             LTD.’S MOTION TO DISMISS,
21                                                     ANTI-SLAPP MOTION TO
                                    Defendants.        STRIKE, AND MEMORANDUM
22                                                     OF POINTS AND AUTHORITIES
                                                       IN SUPPORT
23
24                                                     Date: February 23, 2024
                                                       Time: 10:00 a.m.
25                                                     Courtroom: 6 – 17th Floor
                                                       Judge: Hon. Charles R. Breyer
26
27
28



     X CORP. V. CENTER FOR COUNTERING DIGITAL HATE, INC., ET AL. (NO. 3:23-CV-03836-CRB)
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 1                          NOTICE OF MOTION AND RELIEF SOUGHT
 2          PLEASE TAKE NOTICE that at 10:00 a.m. on February 23, 2024, or as soon thereafter as
 3   the matter may be heard, in Courtroom 6 of the above-captioned Court, Defendants Center for
 4   Countering Digital Hate, Inc. (“CCDH US”) and Center for Countering Digital Hate Ltd. (“CCDH
 5   UK,” and, together with CCDH US, the “CCDH Defendants”) will and hereby do move to dismiss
 6   Plaintiff X Corp.’s Amended Complaint, Dkt. 10, with prejudice pursuant to Federal Rules of Civil
 7   Procedure 12(b)(6) and 9, and move to strike Counts 1, 3, and 4 of the Amended Complaint as
 8   legally deficient pursuant to Cal. Civ. Proc. Code § 425.16. This motion is based on this Notice of
 9   Motion; the accompanying Memorandum of Points and Authorities; the Declaration of Roberta A.
10   Kaplan and attached exhibits; the pleadings, papers, and records on file in this case; and any further
11   argument or evidence that may be received by the Court at the hearing.
12                       MEMORANDUM OF POINTS AND AUTHORITIES
13   I.     INTRODUCTION
14          Despite all the window dressing, this is fundamentally a case about speech. Plaintiff X Corp.
15   is a multibillion-dollar, privately-held corporation that operates “X,” formerly known as Twitter—
16   one of the world’s largest and most influential social media platforms. The CCDH Defendants are
17   nonprofit organizations with the mission of protecting human rights and civil liberties online,
18   founded after a white supremacist (radicalized online) murdered a colleague of their founder and
19   CEO. The CCDH Defendants and other nonprofit groups have researched, authored, and published
20   reports and articles documenting how major social media companies, including X Corp., protect or
21   fail to protect against hate speech and false narratives relating to public health, climate change, and
22   other topics of public concern. In turn, the companies, including X Corp., and their respective
23   executives have spoken to defend their policies and critique these reports’ methodologies. Users,
24   advertisers, and the public are obviously free to compare the arguments marshaled by both sides.
25   And after evaluating each side’s speech, users and advertisers can decide for themselves whether
26   and how to continue using the companies’ platforms.
27          Apparently unhappy with how it is faring in the marketplace of ideas, X Corp. asks this
28   Court to shut that marketplace down—to punish the CCDH Defendants for their speech and to



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 1   silence others who might speak up about X Corp. in the future. Thus, X Corp. seeks “at least tens
 2   of millions of dollars” in damages based on how advertisers reacted to what the CCDH Defendants
 3   said about X Corp. in their public reports. Conspicuously, X Corp. has not asserted a defamation
 4   claim—understandably so, since it cannot allege that the CCDH Defendants said anything
 5   knowingly false, nor does it wish to invite discovery on the truth about the content on its platform.
 6   Instead, X Corp. has ginned up baseless claims purporting to take issue with how the CCDH
 7   Defendants gathered data that formed the basis for their research and publications. Each theory is
 8   flimsier and more absurd than the last. More specifically, X Corp.’s Amended Complaint asserts a
 9   claim for breach of contract against CCDH US (Count 1, claiming that CCDH US breached
10   Twitter’s Terms of Service when it used Twitter’s own search function to collect publicly available
11   information); a federal Computer Fraud and Abuse Act (CFAA) claim against the CCDH
12   Defendants and unnamed Doe Defendants who are supposedly their “funders, supporters, and other
13   entities” (Count 2, asserting that the CCDH Defendants’ use of a data analytics platform called
14   Brandwatch somehow amounted to a federal hacking violation); and tort claims for intentional
15   interference with contractual relations and inducing breach of contract against the same Defendants
16   (Counts 3 and 4, arising out of the Brandwatch data collection and its use in three CCDH reports).
17           X Corp.’s claims are riddled with legal deficiencies on their own terms. They also all share
18   one fundamental flaw: at its core, X Corp.’s grievance is not that the CCDH Defendants gathered
19   public data in violation of obscure (and largely imagined) contract terms, but that they criticized X
20   Corp. (forcefully) to the public. In essence, X Corp. seeks to dodge the requirements that the First
21   Amendment imposes on defamation claims by asserting other claims that are no less entwined with
22   the CCDH Defendants’ speech.
23           Fortunately, state and federal free speech protections cannot be so easily evaded. X Corp.’s
24   attempted end-run falls flat, not only due to these vital protections, but also because it fails to state
25   any plausible claim upon which relief can be granted. And, under California’s anti-SLAPP statute,
26   X Corp. cannot establish a probability of prevailing on its state-law causes of action. For the reasons
27   below, X Corp.’s complaint must be stricken or dismissed, with prejudice and in its entirety.
28



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 1   II.     BACKGROUND
 2           The CCDH Defendants are nonprofit organizations with the mission of protecting human
 3   rights and civil liberties online. They conduct research and publish “publicly available and free”
 4   reports about major social media platforms. Amended Complaint (“AC”), Dkt. 10, ¶ 17.1 Their
 5   reports concern the major platforms’ content moderation policies and practices relating to “widely
 6   debated topics” of “paramount public concern” such as “hate speech,” “COVID-19 vaccinations,
 7   reproductive healthcare, and climate change.” AC ¶¶ 17, 26, 72. These reports have garnered
 8   attention from, and sparked debate among, both the press and the public at large. AC ¶ 56.
 9           The CCDH Defendants’ reports have also prompted responses from the social media
10   companies themselves, who have at times critiqued the reports as having “flawed . . .
11   methodologies,” using “inappropriately small” sample sizes, defining “hate speech” too broadly,
12   relying on metrics other than “impressions,” and not discussing social media posts that are not
13   problematic. AC ¶¶ 18-24. X Corp. has gone a step further, claiming that the CCDH Defendants
14   are “activist organizations masquerading as research agencies.” AC ¶ 1.2 Prior to filing this lawsuit,
15   Elon Musk, X Corp.’s owner, chairman, and CTO, posted on the X platform that the CCDH
16   Defendants are “[t]ruly evil” and that their CEO, Imran Ahmed, is a “rat.”3
17           On July 20, 2023, X Corp. sent a letter to the CEO of the CCDH Defendants criticizing their
18   reports and threatening litigation under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125. The
19   CCDH Defendants responded on July 31, 2023, calling X Corp.’s threat “bogus” and “a transparent
20
     1
21     The factual allegations in the Amended Complaint are accepted as true for purposes of this motion,
     but not to the extent that they are contradicted by more specific allegations, documents incorporated
22   by reference, or matters of public record subject to judicial notice. See In re Finjan Holds., Inc., 58
23   F.4th 1048, 1052 n.1 (9th Cir. 2023).
     2
       Numerous independent sources have reached conclusions that align with those of the CCDH
24   Defendants. See, e.g., Steven Lee Myers, Stuart A. Thompson, & Tiffany Hsu, The Consequences
     of Elon Musk’s Ownership of X, N.Y. Times (Oct. 27, 2023), https://www.nytimes.com/interactive/
25   2023/10/27/technology/twitter-x-elon-musk-anniversary.html (“[D]ozens of studies from multiple
26   organizations . . . demonstrat[e] on issue after issue a similar trend: an increase in harmful
     content”—including hate speech, antisemitism, climate change misinformation, and COVID-19
27   disinformation—“on X during [Elon] Musk’s tenure.”).
     3
         Elon Musk, X (July 18, 2023, 8:26 a.m.), https://twitter.com/elonmusk/status/
28   1681279195253551104; Elon Musk, X (July 18, 2023, 8:30 a.m.), https://twitter.com/elonmusk/
     status/1681280344870342657.

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 1   attempt to silence honest criticism.”4 Later that day, X Corp. filed this lawsuit, asserting altogether
 2   different claims and represented by a new lawyer. See Dkt. 1. X Corp. subsequently amended its
 3   complaint on August 7, 2023. See Dkt. 10. The Amended Complaint presents two categories of
 4   allegations about three specific reports by the CCDH Defendants dated March 24, 2021, see AC
 5   ¶¶ 44-45; November 10, 2022, see AC ¶¶ 46-48; and February 9, 2023, see AC ¶¶ 49-55.
 6           First, X Corp. alleges that CCDH US improperly “scraped” data for use in the February 9,
 7   2023 report. AC ¶¶ 49-55. CCDH US, as a user of X, was required to agree to X’s Terms of Service
 8   (ToS) when it created an account. Although X Corp. does not allege when CCDH US did so, the
 9   ToS at all relevant times allowed users to “access or search or attempt to access or search the
10   Services . . . through our currently available, published interfaces that are provided by Twitter” and
11   provided, by contrast, that “scraping the Services without the prior consent of Twitter is expressly
12   prohibited.”5 Although the February 9, 2023 report stated that CCDH US “used the social media
13   web-scraping tool SNScrape, which utilizes Twitter’s search function to enable data collection,”
14   AC ¶ 54 (emphasis added), X Corp. alleges that this constituted a breach of the ToS, AC ¶ 52.
15           Second, X Corp. alleges that the CCDH Defendants gathered data using a tool by
16   Brandwatch, a social media analytics company, for use in all three reports. AC ¶¶ 44-48. X Corp.
17   alleges that X Corp. entered into a written “Master License Agreement” with Brandwatch on May
18   1, 2020, which prohibited Brandwatch from “allow[ing] others to” access “Licensed Material” and
19   provided that Brandwatch “w[ould] keep ‘Twitter Content’ secure.” AC ¶¶ 29-31.6 Co-Defendant
20   Stichting European Climate Foundation (ECF) is a subscriber to Brandwatch’s analytics tool, and
21   ECF provided login credentials that allowed the CCDH Defendants to access Brandwatch data, in
22   purported violation of ECF’s own agreement with Brandwatch. AC ¶¶ 36-38. X Corp. claims that
23   4
       See Letter from Alex Spiro to Imran Ahmed at 3 (July 20, 2023); Letter from Roberta A. Kaplan
24   to Alex Spiro at 2-3 (July 31, 2023), both available at https://counterhate.com/blog/letters-from-
     the-lawyers-musk-threatens-ccdh-with-brazen-attempt-to-silence-honest-criticism/.
25   5
        Ex. A at 5-6, Twitter Terms of Service (operative June 10, 2022 to May 18, 2023),
26   https://twitter.com/en/tos/previous/version-17; see AC ¶ 53 (incorporating the ToS by reference);
     see also O’Handley v. Padilla, 579 F. Supp. 3d 1163, 1172 n.3 (N.D. Cal. 2022) (taking judicial
27   notice of Twitter’s ToS), aff’d sub nom. O’Handley v. Weber, 62 F.4th 1145 (9th Cir. 2023). All
     “Ex.” cites are to the exhibits attached to the accompanying declaration of Roberta A. Kaplan.
28   6
       X Corp. also alleges that it entered into a second written agreement with Brandwatch on April 27,
     2023, after all the CCDH Defendants’ reports at issue were published. See AC ¶¶ 32-33.

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 1   neither it nor Brandwatch consented to such access, AC ¶ 40, though of course Brandwatch is not
 2   a party to this lawsuit.
 3           In their first two reports described above (dated March 24, 2021, and November 10, 2022),
 4   the CCDH Defendants said that they had collected underlying data using Brandwatch. AC ¶¶ 45,
 5   48. In the third report (dated February 9, 2023), X Corp. alleges that the CCDH Defendants “cite[d]
 6   several data points for which non-public Brandwatch sources [we]re quoted.” AC ¶ 51.
 7           X Corp. does not allege that the CCDH Defendants had actual knowledge of any contracts
 8   between X Corp. and Brandwatch. Instead, the Amended Complaint alleges that the CCDH
 9   Defendants “knew, based on their experience . . . purporting to analyze data with social media
10   platforms,” that Brandwatch must have contracts with X Corp. that contained the terms outlined
11   above. AC ¶ 91. And X Corp. claims that the CCDH Defendants’ conduct—namely, using login
12   credentials provided by ECF—intentionally “prevented Brandwatch from performing under” its
13   agreements with X Corp., because “Brandwatch failed to secure the data from X Corp.” AC ¶ 93.
14           As a result, X Corp. demands “at least tens of millions of dollars” in damages arising from
15   the CCDH Defendants’ publication of critiques of the X platform. More specifically, the Amended
16   Complaint alleges that companies that advertise on X viewed the CCDH Defendants’ various
17   “reports and articles”; that upon reading the CCDH Defendants’ reporting, “at least five” companies
18   paused advertising on X; and that this caused X Corp. to lose an “estimate[d] . . . at least tens of
19   millions of dollars” in revenue, for which X Corp. says Defendants are now liable. AC ¶¶ 65-70,
20   92-93, 97-99. In addition, in pleading its federal hacking claim, X Corp. alleges that it has spent
21   some amount “far exceed[ing] $5,000” on internal investigations, AC ¶¶ 71, 87, though X Corp.
22   does not allege that the CCDH Defendants’ conduct imposed server costs, data corruption, service
23   interruptions, or anything like that.
24   III.    LEGAL STANDARD
25           Under California’s anti-SLAPP statute, where a state-law claim “aris[es] from any act of
26   [the defendant] in furtherance of [the defendant]’s right of . . . free speech . . . in connection with a
27   public issue,” the cause of action “shall be subject to a special motion to strike, unless . . . the
28   plaintiff has established that there is a probability that the plaintiff will prevail on the claim.” Cal.



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 1   Civ. Proc. Code § 425.16(g). Where, as here, “an anti-SLAPP motion to strike challenges only the
 2   legal sufficiency of a claim,” a federal court applies the Rule 12(b)(6) standard. Planned
 3   Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress, 890 F.3d 828, 834 (9th Cir. 2018).
 4           To survive a motion to dismiss under Rule 12(b)(6), a complaint must contain factual
 5   allegations that “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,
 6   678 (2009). This Court may consider the complaint, documents incorporated by reference, and
 7   matters of public record subject to judicial notice. See In re Finjan Holds., Inc., 58 F.4th at 1052
 8   n.1. Although the Court must accept well-pleaded factual allegations as true, it “need not . . . accept
 9   as true allegations that contradict matters properly subject to judicial notice or by exhibit,” nor those
10   “that are merely conclusory, unwarranted deductions of fact, or unreasonable inferences.” Sprewell
11   v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir.), as amended, 275 F.3d 1187 (9th Cir. 2001).
12   IV.     SUMMARY OF ARGUMENT7
13           X Corp. complains that the CCDH Defendants gathered information in alleged violation of
14   various contractual provisions, then used that data to publish reporting critical of X Corp. and its
15   platform. Because X Corp.’s state-law claims arise from quintessential newsgathering activity in
16   furtherance of the CCDH Defendants’ speech and reporting, they are subject to a special motion to
17   strike under California’s anti-SLAPP statute. See, e.g., Iloh v. Regents of Univ. of Cal., 312 Cal.
18   Rptr. 3d 674, 682 (Cal. Ct. App. 2023). And because X Corp. fails to state a claim for relief on any
19   of its causes of action (and cannot establish a probability of prevailing on any of its state-law claims
20   for anti-SLAPP purposes), all of its claims must be stricken or dismissed.
21           With respect to Count 1 (breach of contract), X Corp. fails to plead that small-scale data
22   collection for nonprofit reporting purposes violates its ToS. Although the ToS prohibits “scraping,”
23   X Corp. fails to define that term anywhere in the ToS, instead only contrasting it with data collection
24   through functions made available by X Corp. itself. But that is exactly what X Corp. alleges the
25   CCDH Defendants did—gathered data using a tool relying on the X platform’s own search
26   function. Such conduct does not violate X Corp.’s ToS. Independently, X Corp.’s effort to penalize
27
28   7
       On November 15, 2023, the Court granted the parties’ stipulated request to extend the page limit
     for this motion to 25 pages, exclusive of the required summary of argument. See Dkt. 44 at 3, 7.

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 1   CCDH US for its criticism of the X platform under the guise of a breach of contract claim fails as
 2   against public policy, as embodied in constitutional and statutory provisions designed to ensure a
 3   robust, unimpeded public debate. And in any event, X Corp. pleads only reputational harm (i.e.,
 4   lost revenue when advertisers reacted to CCDH US’s speech), which it cannot recover under
 5   contract law and constitutional free speech protections. See, e.g., Lewis Jorge Constr. Mgmt., Inc.
 6   v. Pomona Unified Sch. Dist., 102 P.3d 257, 261 (Cal. 2004); Planned Parenthood Fed. of Am.,
 7   Inc. v. Ctr. for Med. Progress, 402 F. Supp. 3d 615, 644 (N.D. Cal. 2019).
 8          Next, on Count 2 (a federal hacking claim under the CFAA), X Corp. fails to plead that the
 9   CCDH Defendants accessed any Brandwatch data “without authorization,” as this criminal and
10   civil statute requires. In fact, X Corp. concedes that ECF authorized CCDH to use Brandwatch on
11   its account, and the Brandwatch terms show ECF’s authorization made CCDH a valid Brandwatch
12   “User.” And in any event, even unauthorized password-sharing would fall short of the kind of
13   “breaking and entering” this hacking-focused statute proscribes. hiQ Labs, Inc. v. LinkedIn Corp.,
14   31 F.4th 1180, 1197 (9th Cir. 2022). X Corp. also fails to plead the requisite technological harm
15   “to computer systems and data,” “such as the corruption of files,” Van Buren v. United States, 141
16   S. Ct. 1648, 1659-60 (2021); it instead alleges only nonrecoverable investigation costs. X Corp.
17   similarly fails to give notice of which of the scores of potential CFAA theories it means to allege.
18          As for Counts 3 and 4 (duplicative tort claims), X Corp.’s pleading fails to allege causation
19   or inducement and, in fact, flips the causal chain on its head. X Corp. makes clear that the CCDH
20   Defendants did not cause or induce Brandwatch to breach its agreements with X Corp. to keep data
21   secure—indeed, the CCDH Defendants did not lead Brandwatch to do anything at all. Instead,
22   Brandwatch’s alleged failure to keep the data secure constituted a condition precedent to the CCDH
23   Defendants’ access. Independently, X Corp. fails to make out any breach by Brandwatch to begin
24   with, as ECF authorized the alleged access; alleges no facts to support its conjecture that the CCDH
25   Defendants were somehow aware of the terms of X Corp.’s agreements with Brandwatch (which
26   the CCDH Defendants have yet to see); and again fails to allege recoverable damages consistent
27   with speech protections and basic principles of proximate cause.
28



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 1          Finally, X Corp.’s vague, conspiratorial allegations regarding the Doe Defendants fall
 2   woefully short of stating a claim against them. And leave to amend would be inappropriate where,
 3   as here, the plaintiff has already had an opportunity to replead; no additional factual allegations
 4   could save its claims; and the state-law causes of action are properly stricken under California’s
 5   anti-SLAPP statute, which exists to ensure a speedy resolution of claims which impinge on speech.
 6   Accordingly, the Court should strike Counts 1, 3, and 4, and dismiss Count 2, with prejudice.
 7   V.     ARGUMENT
 8          A.      The Alleged Conduct at Issue Was Newsgathering Activity in Furtherance of
 9                  the CCDH Defendants’ Protected Speech and Reporting

10          X Corp. alleges that the CCDH Defendants gathered information in violation of various
11   contractual provisions, and then used that data to publish reporting critical of X Corp. X Corp.’s
12   state-law claims thus “aris[e] from” quintessential acts “in furtherance of” the CCDH Defendants’
13   speech and reporting on public issues. Cal. Civ. Proc. Code § 425.16(b)(1). A defendant need only
14   make a “prima facie showing” on this point, Makaeff v. Trump Univ., LLC, 715 F.3d 254, 261 (9th
15   Cir. 2013), and courts must err on the side of construing California’s anti-SLAPP statute “broadly,”
16   Mindys Cosmetics, Inc. v. Dakar, 611 F.3d 590, 596 (9th Cir. 2010) (quoting § 425.16(a)).
17          First, the CCDH Defendants’ reporting activities were self-evidently “in furtherance of”
18   their free speech rights. §§ 425.16(b)(1), (e)(4). The same is true of their data collection. Because
19   “[r]eporting the news usually requires the assistance of newsgathering,” newsgathering itself is
20   “undertaken in furtherance of the news media’s right to free speech” for anti-SLAPP purposes.
21   Lieberman v. KCOP Television, Inc., 1 Cal. Rptr. 3d 536, 542 (Cal. Ct. App. 2003); see also, e.g.,
22   Taus v. Loftus, 151 P.3d 1185, 1203-04 (Cal. 2007) (“conducting an investigation with regard to
23   the validity of” a scholarly article “unquestionably” constituted “conduct in furtherance of their
24   right of free speech”); Iloh, 312 Cal. Rptr. 3d at 682 (collecting cases). This principle is not limited
25   to traditional journalists (whatever that term means in today’s world). See, e.g., Iloh, 312 Cal. Rptr.
26   3d at 682 (applying the principle to a nonprofit corporation that “promotes transparency and
27   integrity in scientific publishing”). And a defendant cannot evade anti-SLAPP protections by
28   alleging some breach of contract or other wrong relating to data collection. See, e.g., Navellier v.



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 1   Sletten, 52 P.3d 703, 712-13 (Cal. 2002) (“[A]ny claimed illegitimacy of the defendant’s acts”
 2   pertains only to “the plaintiff’s secondary burden to provide a prima facie showing of the merits.”
 3   (cleaned up)).
 4          Second, X Corp.’s claims “aris[e] from” the CCDH Defendants’ protected newsgathering
 5   activity. § 425.16(b)(1). Put another way, “the principal thrust or gravamen of [the] cause of
 6   action,” Iloh, 312 Cal. Rptr. 3d at 684, is the CCDH Defendants’ speech. Indeed, every penny in
 7   damages X Corp. seeks on its state-law claims was allegedly “in direct response to” or “[a]s a direct
 8   . . . result of” the CCDH Defendants’ reports and articles. AC ¶¶ 78, 92, 98. Moreover, the rest of
 9   each count is premised on newsgathering activity. See AC ¶¶ 77-78 (complaining about CCDH
10   US’s “data collection” for “reports and articles”); AC ¶¶ 92-93 (complaining that the CCDH
11   Defendants “prevented Brandwatch from performing” by “unlawfully accessing [Brandwatch]
12   data” for “reports and articles”); AC ¶¶ 97-99 (complaining that the CCDH Defendants “induc[ed]
13   Brandwatch to breach” by “gaining access to . . . data” for “reports and articles”).
14          Third, the CCDH Defendants’ speech was concededly “in connection with a public issue,”
15   § 425.16(b)(1), in that it concerned “broadly debated topics” “of paramount public concern” “such
16   as COVID-19 vaccines, reproductive healthcare, and climate change,” AC ¶¶ 3, 72.
17          Thus, this case is a quintessential SLAPP: it “masquerade[s] as [an] ordinary lawsuit[],” but
18   is really “intended to deter ordinary people from exercising their . . . rights or to punish them for
19   doing so,” Makaeff, 715 F.3d at 261 (cleaned up), by using this Court to impose significant litigation
20   costs and the threat of ruinous liability in damages. As a result, unless X Corp. establishes a
21   probability of prevailing on its state-law claims—and it cannot—the claims must be stricken.
22          B.        X Corp. Fails to State a Claim for Breach of Contract (Count 1)
23          Because the anti-SLAPP statute applies to Count 1, the burden shifts to X Corp. to establish
24   a probability of prevailing—i.e., in the context of this motion, that it can state a plausible claim for
25   relief under Rule 12(b)(6). See § 425.16(b)(1); Planned Parenthood, 890 F.3d at 834.
26          X Corp. cannot make that showing on its contract claim, which is as breathtaking as it is
27   unprecedented. Its theory proceeds in three steps: First, CCDH US’s use of a tool that “utilizes
28   Twitter’s search function to enable data collection” somehow violates Twitter’s vague and



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 1   ambiguous ToS. AC ¶¶ 53-54. Second, X Corp. can wield its ToS, an adhesion contract that it forces
 2   every user to sign, to prohibit and penalize even limited newsgathering activities for First
 3   Amendment-protected research and reporting purposes. See AC ¶¶ 49-55. Third, X Corp. may rely
 4   on such supposed violations to demand “at least tens of millions of dollars” of special damages
 5   based on the CCDH Defendants’ subsequent public speech and third parties’ independent decisions
 6   to pause advertising. AC ¶¶ 78-79. If any of these propositions are legally deficient, this Court
 7   should strike or dismiss Count 1; here, they are all legally deficient.
 8                  1.      X Corp. has not pleaded a breach of its Terms of Service
 9          “[T]he elements of a cause of action for breach of contract are (1) the existence of the
10   contract, (2) plaintiff’s performance or excuse for nonperformance, (3) defendant’s breach, and (4)
11   the resulting damages to the plaintiff.” Oasis West Realty, LLC v. Goldman, 250 P.3d 1115, 1121
12   (Cal. 2011). Even assuming X Corp. has pleaded the first two elements, it fails to allege facts that
13   would show that CCDH US violated its ToS.
14          In support of its contract claim, X Corp. quotes just twelve words from its ToS: “scraping
15   the Services without the prior consent of Twitter is expressly prohibited.” AC ¶¶ 53, 75. The full
16   provision of the ToS actually reads as follows:
17          You may not do any of the following while accessing or using the Services: . . . (iii)
18          access or search or attempt to access or search the Services by any means
            (automated or otherwise) other than through our currently available, published
19          interfaces that are provided by Twitter (and only pursuant to the applicable terms
            and conditions), unless you have been specifically allowed to do so in a separate
20          agreement with Twitter (NOTE: crawling the Services is permissible if done in
21          accordance with the permissions of the robots.txt file, however, scraping the
            Services without the prior consent of Twitter is expressly prohibited) . . . .
22
23   Ex. A at 5-6. X Corp. defines certain key terms in its ToS—it even uses the defined term “Services”
24   in this very provision—but X Corp. does not define the term “scraping,” nor does it mention it
25   anywhere else in its ToS. As the Ninth Circuit has already recognized, some conceptions of
26   “scraping” can, in theory, include a wide range of innocuous conduct, including even “manually”
27   copying “data from a website . . . into a structured format.” hiQ Labs, 31 F.4th at 1186 n.4.
28



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 1           X Corp. fails to plausibly allege that the conduct at issue here constitutes the sort of
 2   “scraping” that its ToS prohibits. Here, the allegation is that CCDH US used a web tool called
 3   SNScrape, which employs X’s search function, to collect 9,615 tweets from a handful of previously
 4   banned user accounts that X reinstated, so that CCDH US could analyze and comment on the tweets
 5   in a free, public report dated February 9, 2023. See AC ¶ 54; Ex. B at 17, CCDH US & CCDH UK,
 6   Toxic Twitter (Feb. 9, 2023), https://counterhate.com/wp-content/uploads/2023/02/Toxic-Twitter_
 7   FINAL.pdf (incorporated by reference in AC ¶ 49). Such small-scale data collection for nonprofit
 8   research purposes using X Corp.’s own functionality cannot constitute prohibited “scraping” under
 9   X Corp.’s adhesive ToS. Three familiar principles of contract interpretation—the need to read all
10   terms as a whole, the presumption against waivers of rights, and the rule that ambiguities in
11   adhesion contracts must be construed against the drafter—compel that conclusion here.
12           First, it is axiomatic that contractual terms must be interpreted in light of “the contract as a
13   whole” and “in context, rather than . . . in isolation.” Am. Alt. Ins. Corp. v. Super. Ct. of L.A. Cnty.,
14   37 Cal. Rptr. 3d 918, 922 (Cal. Ct. App. 2006); see Cal. Civ. Code §§ 1641, 1643. Here, the ToS
15   uses the term “scraping” in contrast to “access[ing] or search[ing] the Services . . . through our
16   currently available, published interfaces that are provided by Twitter.” Ex. A at 5-6. Yet X Corp.
17   recognizes that the tool CCDH US used—however it was described colloquially—“utilize[d]
18   Twitter’s search function to enable data collection,” apparently with no technological cost to X
19   Corp. AC ¶ 54 (emphasis added). Thus, CCDH US’s alleged conduct was permitted under any
20   reasonable interpretation of X Corp.’s ToS. At minimum, there clearly could not have been any
21   “meeting of the minds upon the essential features of” X Corp.’s vague ToS clause, as would be
22   necessary to “sufficiently define[]” that clause’s scope and “provide a rational basis for the
23   assessment of damages.” Scott v. Pac. Gas & Elec. Co., 904 P.2d 834, 841 (Cal. 1995) (internal
24   quotation marks omitted).
25           Second, under California law, “it is well established that courts closely scrutinize waivers
26   of constitutional rights[] and indulge every reasonable presumption against a waiver.” Integrated
27   Healthcare Holdings, Inc. v. Fitzgibbons, 44 Cal. Rptr. 3d 517, 529 (Cal. Ct. App. 2006). Applying
28   the ToS’s undefined prohibition on “scraping” to prohibit limited “attempts to record the contents



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 1   of public websites for [nonprofit] research [and advocacy] purposes,” as X Corp. suggests here,
 2   would effect a waiver of CCDH US’s rights “plausibly within the ambit of the First Amendment.”
 3   Sandvig v. Sessions, 315 F. Supp. 3d 1, 15-16 (D.D.C. 2018). After all, the First Amendment
 4   protects not just speech, but also access to “the stock of information from which members of the
 5   public may draw.” First Nat’l Bank of Bos. v. Bellotti, 435 U.S. 765, 783 (1978). As a result, “six
 6   courts of appeals have found that individuals have a First Amendment right to record at least some
 7   matters of public interest, in order to preserve and disseminate ideas.” Sandvig, 315 F. Supp. 3d at
 8   15-16 & n.4; see Animal Legal Def. Fund v. Wasden, 878 F.3d 1184, 1203 (9th Cir. 2018) (“easily”
 9   holding recordings of agricultural operations were “speech protected by the First Amendment”).
10   Automation is “merely a technological advance that makes [such] information collection easier,”
11   Sandvig, 315 F. Supp. 3d at 16—especially here, where only a few thousand public data points
12   were gathered, and admittedly for research and reporting purposes. Moreover, the Liberty of Speech
13   Clause of the California Constitution “independently establishes a zone of protection that is broader
14   still” than its federal counterpart. Blatty v. N.Y. Times Co., 728 P.2d 1177, 1181-82 (Cal. 1986); see
15   Cal. Const. art. I, § 2. “[I]ndulging every reasonable presumption against a waiver” of these rights
16   makes clear that “the phrase [‘scraping’] . . . is not sufficiently clear and definite on its face to imply
17   a waiver” by CCDH US. Integrated Healthcare Holdings, Inc., 44 Cal. Rptr. 3d at 529-30; see also,
18   e.g., A.H.D.C. v. City of Fresno, No. 97 Civ. 5498, 2000 WL 35810722, at *10-11 (E.D. Cal. Aug.
19   31, 2000) (possible waiver of First Amendment rights was “entitled to the narrowest construction,”
20   especially because it was within a “contract of adhesion”).
21           Third, any “ambiguities in written agreements are to be construed against their drafters.”
22   Sandquist v. Lebo Automotive, Inc., 376 P.3d 506, 514 (Cal. 2016). This “applies with peculiar
23   force in the case of the contract of adhesion.” 1 Witkin, Summary of Cal. Law—Contracts § 780
24   (11th ed. 2023). Under this principle, the vague terms X Corp. uses in its ToS cannot reach isolated
25   collection of publicly available data, by a nonprofit, using X Corp.’s search function, for research
26   and advocacy purposes, that imposes no direct costs on the platform. If X Corp. wished for its form
27   contract to sweep so broadly, it should have drafted its ToS to say so. At a minimum, it could have
28   defined the term “scraping”; its competitors utilize markedly clearer language to prohibit unwanted



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 1   means of data collection.8 X Corp.’s failure to do the same must be held against it, not CCDH US.
 2           Given these considerations, courts that have sustained contract claims over “scraping” have
 3   done so in dramatically different contexts involving private data sold for profit, significant breaches
 4   of user privacy, large-scale collection inflicting technological harm, or several of these factors, all
 5   of which are absent here.9 Even X Corp.’s own prior suits over “scraping” involve such fact
 6   patterns.10 Whatever the nature of X Corp.’s complaints with CCDH US’s speech, it fails to allege
 7   facts sufficient to bring CCDH US’s newsgathering activities within the ambit of any plausible
 8   understanding of a contractual prohibition on undefined “scraping.” And in light of X Corp.’s
 9   failure to plead any violation of its ToS under state law, Count 1 should be stricken or dismissed.
10                  2.      If the anti-scraping provision applies, enforcement violates public policy
11           Even if X Corp.’s ToS did prohibit efforts to collect small amounts of publicly available
12   data facilitated by X’s search feature for nonprofit research and reporting (and it does not), public
13   policy would render any such prohibition unenforceable. “[A] contract is unlawful, and therefore
14   unenforceable, if it is ‘[c]ontrary to an express provision of law’ or ‘[c]ontrary to the policy of
15   express law, though not expressly prohibited.’” Sheppard, Mullin, Richter & Hampton, LLP v. J-
16
17   8
       E.g., hiQ Labs, Inc. v. LinkedIn Corp., 639 F. Supp. 3d 944, 959 (N.D. Cal. 2022) (“You agree
18   that you will not . . . [s]crape or copy profiles and information of others through any means
     (including crawlers, browser plugins and add-ons, and any other technology or manual work);”
19   “[u]se manual or automated software, devices, scripts[,] robots, other means or processes to access,
     ‘scrape,’ ‘crawl,’ or ‘spider’ the Services or any related data or information;” or “[u]se bots or other
20
     automated methods to access the Services, add or download contracts, [or] send or redirect
21   messages”); see also Meta Platforms, Inc. v. BrandTotal Ltd., 605 F. Supp. 3d 1218, 1243 (N.D.
     Cal. 2022).
22   9
        See, e.g., BrandTotal Ltd., 605 F. Supp. 3d at 1232-33 (collecting public and private data at a
23   large scale and for profit); hiQ Labs, Inc., 639 F. Supp. 3d at 955 (large-scale scraping for profit,
     using tricks to evade platform barriers and prevent detection); Chegg, Inc. v. Doe, No. 22 Civ. 7326,
24   2023 WL 4315540, at *4 (N.D. Cal. July 3, 2023) (collection of private, paywalled information “in
     huge quantities” for profit); Craigslist, Inc. v. 3taps, Inc., No. 12 Civ. 3816, 2015 WL 5921212, at
25   *1 (N.D. Cal. Oct. 11, 2015) (scraping Craiglist content, “without authorization, for profit”).
     10
26       See Complaint at 2, X Corp. v. Bright Data Ltd., No. 23 Civ. 3698 (N.D. Cal. July 26, 2023),
     Dkt. 1 (alleging “Bright Data has built an illicit data-scraping business” by “scrap[ing] and sell[ing]
27   millions of records from” the Twitter/X platform); Original Petition at 4, X Corp. v. John Doe 1,
     No. DC-23-09157 (Tex. Dist. Ct. July 6, 2023) (“flooding Twitter’s sign-up page with automated
28   requests,” “severely tax[ing] X Corp.’s servers,” “impair[ing] the user experience for millions of
     X” users, and “profit[ing] . . . while harming X Corp. and compromising user data”).

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 1   M Mfg. Co., 425 P.3d 1, 8 (Cal. 2018) (quoting Cal. Civ. Code § 1667). Sources of such law can
 2   include constitutions and statutes. See, e.g., Cariveau v. Halferty, 99 Cal. Rptr. 2d 417, 420-21 (Cal.
 3   Ct. App. 2000). Even absent express law, a provision may be “unenforceable on grounds of public
 4   policy if . . . the interest in its enforcement is clearly outweighed in the circumstances by a public
 5   policy against [its] enforcement.” Bovard v. Am. Horse Enters., Inc., 247 Cal. Rptr. 340, 344 (Cal.
 6   Ct. App. 1988). “Whether or not a contract is contrary to public policy is a question of law to be
 7   determined from the circumstances of each particular case.” 14 Cal. Jur. 3d Contracts § 171.
 8          Allowing X Corp. to ban the conduct alleged here would contravene settled public policy,
 9   in several respects. Most fundamentally, it would violate the speech principles underpinning the
10   federal Free Speech Clause and the state Liberty of Speech Clause, and not just because CCDH
11   US’s data collection and reporting fall within the protection afforded by those guarantees. Even
12   beyond that, “commonplace social media websites like . . . Twitter” constitute “the modern public
13   square.” Packingham v. North Carolina, 582 U.S. 98, 101, 107 (2017). Yet X Corp.’s theory would
14   allow it to unilaterally restrict essential forms of newsgathering, speech, and debate both in and
15   about that modern public square. Public policy does not sanction giving X Corp. such broad control
16   over publicly available data that X Corp. does not own, particularly when that data is needed to
17   facilitate free and open debate on issues of public concern.
18          In addition, X Corp.’s contract claim violates established statutory policies favoring online
19   transparency and a robust public discourse. The State of California has enacted legislation towards
20   these ends, most powerfully in the decades-old anti-SLAPP statute, which is premised on the belief
21   “that it is in the public interest to encourage continued participation in matters of public
22   significance.” Cal. Civ. Proc. Code § 425.16(a). X Corp.’s effort to use its ToS to punish nonprofits
23   for their reporting on and criticism of the X platform obviously collides with this public policy.11
24
     11
        Further evidence of these policy commitments is found in the Social Media Transparency and
25   Accountability Act (“SMTAA”), also known as Assembly Bill No. 587, see Cal. Bus. & Prof. Code
26   §§ 22675-22681, which will require social media companies to disclose their content moderation
     policies and practices, and which X Corp. has sued to enjoin, see Complaint at 2, X Corp. v. Bonta,
27   No. 23 Civ. 1939 (E.D. Cal. Sept. 8, 2023), Dkt. 1. Congress, too, has acted to shield individuals
     from contractual retribution for speech that is critical of products or services. Thus, the Consumer
28   Review Fairness Act renders a “form contract[]” that “prohibits or restricts” an individual’s ability
     to “assess[]” or “analy[ze]” the “performance” of a counterparty’s “services” void. 15 U.S.C. § 45b.

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 1           These foundational policies do not permit enforcement of the ToS against the newsgathering
 2   at issue here. Public policy bars enforcement of X Corp.’s ToS against the conduct alleged, which
 3   involves an unprecedented confluence of (i) small-scale data collection, (ii) not for sale or for profit,
 4   (iii) for research and reporting about matters of public concern, (iv) facilitated by X Corp.’s own
 5   search functionality, (v) inflicting no alleged technological harm, and (vi) involving publicly
 6   accessible third-party content. Count 1 should be stricken or dismissed.
 7                   3.      X Corp. does not allege recoverable damages
 8           Even assuming X Corp.’s adhesive ToS prohibits the limited, reporting-oriented conduct
 9   alleged here, and that it can be enforced consistent with public policy, the Court should still strike
10   or dismiss Count 1 for yet a third reason: X Corp. fails to allege recoverable damages. See Oasis
11   West Realty, LLC, 250 P.3d at 1121 (“[T]he elements of a cause of action of breach of contract . . .
12   [include] damages to the plaintiff.”).12 X Corp. tellingly seeks only reputational damages based on
13   lost revenue from advertisers in response to speech, which it cannot recover for two reasons.
14           First, X Corp.’s lost advertising revenue is not recoverable as a matter of state contract law.
15   “[C]ontractual damages are of two types—general damages (sometimes called direct damages) and
16   special damages (sometimes called consequential damages).” Lewis Jorge Constr. Mgmt., 102 P.3d
17   at 261. General damages are “those that flow directly and necessarily from a breach of contract,”
18   while special damages are “secondary or derivative losses arising from circumstances that are
19   particular to the contract or to the parties.” Id. Importantly, in order to be recoverable, special
20   damages must have been “foreseen or . . . reasonably foreseeable when the contract was formed.”
21   Highwire Promotions, LLC v. Legend Marketing LLC, 263 F. App’x 564, 565 (9th Cir. 2008)
22   (emphasis added); see also Lewis Jorge Constr. Mgmt., 102 P.3d at 261. Moreover, the losses at
23   issue must be those “likely to result from a breach,” i.e., “the probable result” of a breach. Lewis
24   Jorge Constr. Mgmt., 102 P.3d at 262 (cleaned up).
25
26   12
        In the alternative, because X Corp. does not allege recoverable damages in excess of $75,000 on
27   Count 1, it fails to establish diversity jurisdiction. And because X Corp. additionally fails to state
     claims on Counts 2-4, requiring that those counts be dismissed or struck, this Court should decline
28   to exercise supplemental jurisdiction over Count 1 even if that count otherwise survives this motion.
     See, e.g., Religious Tech. Ctr. v. Wollersheim, 971 F.2d 364, 367-68 (9th Cir. 1992).

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 1          Here, X Corp.’s claim for damages is that CCDH US breached the ToS by collecting
 2   publicly-available data using Twitter’s own search tool; that although the breach caused no direct
 3   damages, the CCDH Defendants used the publicly available data collected to publish reports
 4   criticizing X Corp.; that their speech, in turn, led X Corp.’s advertisers (all non-parties) to pause
 5   spending; and that this, in turn, caused X Corp. to lose “at least tens of millions of dollars” in
 6   revenue. AC ¶¶ 77-79. Because these remote damages do not flow directly and necessarily from a
 7   breach of an anti-scraping provision, they can only be cognizable as special damages (if at all). See
 8   Lewis Jorge Constr. Mgmt., Inc., 102 P.3d at 261. Yet X Corp.’s pleading falls triply short of
 9   satisfying applicable legal standards for special damages:
10          No knowledge at time of contracting. X Corp. makes no attempt to tie any alleged
11   knowledge on the part of CCDH US back to the time of contracting. And it is facially implausible
12   that CCDH US could have known, at whatever time it accepted the ToS, that (for instance) the
13   Twitter/X platform would abruptly change course to restore accounts that it had banned for
14   spreading hate speech, misogyny, and conspiracy theories, see AC ¶ 49; that the CCDH Defendants
15   would collect and review public posts on the platform to shed light on these issues, see AC ¶ 77;
16   and that the CCDH Defendants’ subsequent reporting based on this data would allegedly affect
17   advertiser revenue to the tune of “at least tens of millions of dollars,” AC ¶¶ 78-79. This lack of
18   foreseeability at the time of contracting is precisely why the courts have resoundingly rejected
19   reputational damages in contract actions. See, e.g., King v. Facebook, Inc., 572 F. Supp. 3d 776,
20   790 (N.D. Cal. 2021) (noting “legion of cases” holding that “damages are not recoverable for . . .
21   injury to reputation resulting from breach of contract,” as such harms are “generally not
22   foreseeable” (cleaned up)); Frangipani v. Boecker, 75 Cal. Rptr. 2d 407, 410 (Cal. Ct. App. 1998)
23   (collecting cases showing that an award “in the nature of a recovery for damages to reputation” is
24   “not recoverable in an action for breach”); Rice v. Cmty. Health Ass’n, 203 F.3d 283, 287-88 (4th
25   Cir. 2000) (noting reputational damages have been “universally rejected” in contract actions).
26          Disconnected from alleged breach. Independently, although X Corp. claims that CCDH US
27   intended for advertisers to flee and knew that the CCDH Defendants’ reports would achieve that
28   result, it never alleges that CCDH US knew that lost advertising revenue was the probable result of



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 1   CCDH US’s alleged scraping (the only actual breach it alleges). Understandably so: X Corp.’s lost
 2   advertising revenues have nothing to do with CCDH US’s data collection methods. For this reason,
 3   too, X Corp.’s theory of contract damages flunks the requirements of state law.
 4          No specific statement. X Corp. also fails to comply with Rule 9(g), which requires that “[i]f
 5   an item of special damage is claimed, it must be specifically stated.” “A specific statement of
 6   special damages requires not just the total lump sum, but a statement of the specific items which
 7   make up the lump sum.” City & Cnty. of S.F. v. Tutor-Saliba Corp., No. 02 Civ. 5286, 2005 WL
 8   645389, at *17 (N.D. Cal. Mar. 17, 2005). X Corp. alleges neither; it offers only a loose and
 9   uncapped “estimate[]” of damages, AC ¶ 70, stretching across all three of its state-law claims.
10          Second, the free speech provisions of the federal and state Constitutions bar X Corp. from
11   using non-defamation “cause[s] of action to avoid the strict requirements for establishing a libel or
12   defamation claim” while seeking its “damages for injury to . . . reputation.” Cohen v. Cowles Media
13   Co., 501 U.S. 663, 671 (1991); accord Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 56 (1988)
14   (holding that a public figure could not recover publication damages on a non-defamation claim
15   without showing actual malice); cf. Kasky v. Nike, Inc., 45 P.3d 243, 255 (Cal. 2002) (state Liberty
16   of Speech Clause is “at least as broad as . . . and in some ways broader than” federal Free Speech
17   Clause). The crucial distinction is between “damages . . . result[ing] . . . from the direct acts of
18   defendants” and damages “from the acts of third parties who were motivated by the contents of
19   [defendants’ speech].” Planned Parenthood Fed. of Am., 402 F. Supp. 3d at 644. Fundamental
20   speech protections allow X Corp. to recover only the former category of damages—for direct harms
21   it would have suffered “even if Appellants had never published” their speech. Planned Parenthood
22   Fed. of Am., Inc. v. Newman, 51 F.4th 1125, 1134 (9th Cir. 2022); accord Food Lion, Inc. v. Capital
23   Cities/ABC, Inc., 194 F.3d 505, 523 (4th Cir. 1999) (rejecting supermarket’s attempt to recover
24   “compensation for matters such as loss of good will and lost sales” caused by footage aired in a
25   news program, as these were unrecoverable “reputational damages from publication,” even where
26   the news program “obtained the videotapes through unlawful acts”). Yet X Corp. has not pleaded
27   any direct damages (such as data corruption or server costs). All it seeks on this claim is precisely
28   what the Constitution forbids: damages based on advertisers’ reactions to CCDH US’s speech.



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 1          To be sure, “the pursuit of journalism does not give a license to break laws of general
 2   applicability.” Planned Parenthood, 51 F.4th at 1135. But this “well-accepted rule” does not define
 3   “where to draw the line between impermissible defamation-like publication damages that were
 4   caused by the actions and reactions of third parties [to speech] and permissible damages that were
 5   directly caused by the breach[] of contract” and “tortious acts” alleged. Planned Parenthood, 402
 6   F. Supp. 3d at 643. Here, the answer is clear: because X Corp.’s damages all flow from third parties’
 7   reactions to the CCDH Defendants’ speech, they constitute impermissible publication damages.
 8          Last but not least, permitting Count 1 to proceed would have staggering implications. X
 9   Corp. seeks to hold CCDH US liable for at least tens of millions of dollars in damages, the entirety
10   of which allegedly flows from the CCDH Defendants’ speech on matters of public concern, based
11   on an instance of small-scale data collection that imposed no technological costs on X Corp. and
12   yielded no profit, purportedly in violation of vague and ambiguous contract language drafted by X
13   Corp. itself. Moreover, even if a jury or this Court subsequently ruled against X Corp. on the merits,
14   the CCDH Defendants would be punished in the interim through the significant costs of enduring
15   discovery and litigation in a federal proceeding against a well-resourced adversary with every
16   incentive to impose crushing burdens on the CCDH Defendants. The chill this manipulation of the
17   judicial process would exert on research and honest criticism cannot be overstated. This Court
18   should not be the first to sanction such an effort.
19          C.      X Corp. Fails to State a Claim Under the CFAA (Count 2)
20          X Corp. alleges that the CCDH Defendants violated the CFAA by accessing private
21   Brandwatch data to prepare reports published on March 24, 2021, November 10, 2022, and
22   February 9, 2023. See AC ¶¶ 44-48.13 But the CFAA, a federal criminal hacking statute, provides
23
     13
24      Although X Corp. alleges that the CCDH Defendants’ February 9, 2023 report “cites several data
     points for which non-public Brandwatch sources are quoted,” AC ¶ 51 (emphasis added), this is
25   demonstrably false. The allegation is contradicted by the report itself, see AC ¶ 49 (linking to
26   report), which cites only a public blog post by Brandwatch that remains online and available to all.
     See Ex. B at 5, 17 (citing Brandwatch, How Much Do Social Media Ads Cost on Facebook,
27   Instagram, Twitter, and LinkedIn? (Feb. 22, 2022), https://www.brandwatch.com/blog/how-much-
     do-social-media-ads-cost-on-facebook-instagram-twitter-and-linkedin/). Thus, there can be no
28   liability in connection with that report. In any event, X Corp.’s allegations fail regardless of whether
     this report is somehow relevant to Counts 2-4.

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 1   a private right of action only “under very limited circumstances.” Fish v. Tesla, Inc., No. 21 Civ.
 2   60, 2022 WL 1552137, at *8 (C.D. Cal. May 12, 2022). To state a claim, X Corp. must allege (1)
 3   a violation of one of the statute’s substantive provisions, 18 U.S.C. § 1030(g), and (2) cognizable
 4   “loss to 1 or more persons during any 1-year period . . . aggregating at least $5,000 in value,”
 5   § 1030(c)(4)(A)(i)(I). X Corp. has failed to satisfy either requirement here and does not even give
 6   fair notice of which possible CFAA violation it believes Defendants committed. For each of these
 7   reasons, this Court should dismiss Count 2.
 8                  1.      X Corp. cannot allege access “without authorization”
 9          Unlawful access is a necessary element of any CFAA claim. See Van Buren, 141 S. Ct. at
10   1658. The CFAA specifically prohibits two forms of unlawful access, including (as relevant here)
11   “access without authorization.” Id. But this prong of the statute is narrow—in part because the
12   CFAA is primarily a criminal statute that is interpreted similarly across criminal and civil contexts.
13   See, e.g., LVRC Holdings LLC v. Brekka, 581 F.3d 1127, 1134 (9th Cir. 2009). Moreover, the
14   CFAA was “enacted to prevent intentional intrusion onto someone else’s computer—specifically,
15   computer hacking.” hiQ Labs, Inc., 31 F.4th at 1196. Thus, to be prohibited under the CFAA,
16   conduct must be “analogous to ‘breaking and entering’” into computers; a mere violation of terms
17   of service is not enough. Id. at 1197.
18          Here, X Corp.’s theory requires the following steps: ECF “was a subscriber to Brandwatch’s
19   applications,” AC ¶ 35; ECF voluntarily gave the CCDH Defendants, which were not themselves
20   customers of Brandwatch, access to ECF’s subscription, AC ¶¶ 38, 43, 84; the CCDH Defendants
21   then used ECF’s subscription for research and journalism purposes, AC ¶ 43; and this was all
22   purportedly in violation of Brandwatch’s terms and conditions for its users, AC ¶¶ 37, 42. This
23   convoluted theory fails for two independent reasons.
24          First, the Amended Complaint does not plausibly allege a violation of the Brandwatch user
25   terms because it does not allege that ECF’s subscription was a single-user license. The Brandwatch
26   terms, including the terms quoted by X Corp., distinguish between a “Customer” (ECF) and a
27   “User” (CCDH) and contemplate multiple users for each customer account. See, e.g., AC ¶ 37
28   (providing distribution permissions for a “Customer’s (or User’s) business purpose” (emphasis



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 1   added)). Moreover, the incorporated terms expressly define “User[s]” as anyone whom ECF—not
 2   X Corp. or Brandwatch—has authorized to use Brandwatch services. See, e.g., Ex. C at 1,
 3   Brandwatch Service Terms (Oct. 15, 2022) (“‘User’ means an individual that Customer (directly
 4   or indirectly) has authorised to use the Services.”), https://www.brandwatch.com/wp-
 5   content/uploads/2023/04/MSA-Brandwatch-Oct-15-2022.pdf.14 Notably, the terms were amended
 6   on April 21, 2023—after the alleged Brandwatch access here took place—to add a new restriction
 7   not previously present: “‘User’ means an individual from the entities within the Customer’s
 8   corporate group that Customer has authorized to use the Services and/or the Resold Services.”15
 9   This only underscores the fact that during the relevant period, Brandwatch “Customers” like ECF
10   could authorize “Users” beyond their corporate groups to use the services. And X Corp. actually
11   concedes that ECF permitted the CCDH Defendants to use its subscription. See AC ¶¶ 11, 38.
12   Accordingly, X Corp.’s allegation that their access was “in violation of ECF’s agreement with
13   Brandwatch” fails on the four corners of the pleading and referenced document. AC ¶ 43.
14          Second, even if X Corp. had alleged a violation of the Brandwatch terms (which it has not),
15   that would at most amount to a violation of a license agreement, not the type of hacking that CFAA
16   subjects to civil and criminal penalties. See AtPac, Inc. v. Aptitude Sols., Inc., 730 F. Supp. 2d 1174,
17   1182 (E.D. Cal. 2010) (refusing to “stretch the scope of CFAA” to encompass access-sharing in
18   “violation of [a] license agreement”). As the Ninth Circuit has instructed, “a violation of the terms
19   of use of a website—without more—cannot establish liability under the CFAA.” Facebook, Inc. v.
20   Power Ventures, Inc., 844 F.3d 1058, 1067 (9th Cir. 2016); accord hiQ Labs, Inc., 31 F.4th at 1196
21   (squarely rejecting a “contract-based interpretation of the CFAA’s ‘without authorization’”). All
22
     14
23      The Amended Complaint links to and quotes from a version of the Brandwatch terms dated April
     21, 2023. AC ¶¶ 35-37. Those terms did not govern the period relevant to X Corp.’s allegations,
24   i.e., March 2021, November 2022, and February 2023. The applicable Brandwatch terms (Exs. C
     through E), which are available on the webpage linked to in the Amended Complaint, are also
25   incorporated by reference and, in any event, are subject to judicial notice. See, e.g., Lucky Leather,
26   Inc. v. Mitsui Sumitomo Ins. Grp., No. 12 Civ. 9510, 2013 WL 12139116, at *1 (C.D. Cal. Feb. 26,
     2013) (collecting cases); see also Coffee v. Google, LLC, No. 20 Civ. 390, 2021 WL 493387, at *4
27   (N.D. Cal. Feb. 10, 2021). The operative language defining a “User” was identical across the
     relevant time period. See Ex. C at 1; Ex. D at 1; Ex. E at 1.
28   15
          Ex. F, Brandwatch Service Terms 3 (April 21, 2023) (emphasis added), https://
     www.brandwatch.com/legal/terms-and-conditions/ (incorporated by reference in AC ¶¶ 35-37).

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 1   the more so here, where X Corp. at worst pleads a case of ordinary—and purely voluntary—
 2   password-sharing. Were it otherwise, the CFAA “would attach criminal penalties to a breathtaking
 3   amount of commonplace computer activity.” Van Buren, 141 S. Ct. at 1661. Indeed, countless
 4   services—from social media networks to streaming services to news sites—forbid users from
 5   sharing accounts. Cf. United States v. Nosal, 676 F.3d 854, 861 & n.8 (9th Cir. 2012) (en banc).
 6   “Yet it’s very common for people to let” others “access their online accounts . . . [and] few imagine
 7   they might be marched off to federal prison for doing so.” Id. at 861. Such run-of-the-mill activity
 8   does not come close to the kind of “hacking” punished by the CFAA.
 9          Given this reality, X Corp. strains to allege something more than ordinary password-
10   sharing. At most, it claims that the CCDH Defendants used Brandwatch data to speak unfavorably
11   of X Corp. See, e.g., AC ¶ 85 (alleging that the CCDH Defendants wanted access to Brandwatch
12   data “to mischaracterize the data in its reports”). But of course, what the CCDH Defendants did
13   with the data is irrelevant to whether they accessed that data without authorization. See Van Buren,
14   141 S. Ct. at 1659 (noting that even the government would not read “purpose-based limits . . . into
15   the threshold question whether someone uses a computer ‘without authorization’”); AtPac, Inc.,
16   730 F. Supp. 2d at 1181 (“The CFAA simply does not apply to those who have authority to access
17   specific parts of a computer but do so with an improper purpose.”). Nor can X Corp. use the CFAA
18   as another end-run around a defamation claim. Nosal, 676 F.3d at 857 (CFAA is “an anti-hacking
19   statute,” not a “misappropriation statute”).
20                  2.      X Corp. has not pleaded the requisite technological loss
21          X Corp.’s CFAA claim fails for yet another reason: X Corp. does not allege loss from
22   technological harms. A civil CFAA claim requires “loss to 1 or more persons during any 1-year
23   period . . . aggregating at least $5,000 in value.” 18 U.S.C. § 1030(c)(4)(A)(i)(I). This “conception
24   of ‘loss’” is a “narrow” one. Andrews v. Sirius XM Radio Inc., 932 F.3d 1253, 1262 (9th Cir. 2019);
25   see 18 U.S.C. § 1030(e)(11). Specifically, the statute requires “a showing of technological harms.”
26   hiQ Labs, Inc., 31 F.4th at 1195 n.12; see Van Buren, 141 S. Ct. at 1659-60 (“’Loss’ focus[es] on
27   technological harms . . . to computer systems and data,” “such as the corruption of files”).
28          X Corp. alleges that it expended “well over $5,000” “to conduct internal investigations, . . .



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 1   significant employee resources and time to participate and assist in those investigations, and
 2   attorneys’ fees in aid of those investigations and in enforcing the relevant agreements.” AC ¶ 87.
 3   But none of this loss “relates to costs caused by harm to computer data, programs, systems, or
 4   information services.” Van Buren, 141 S. Ct. at 1659-60 (citing 18 U.S.C. § 1030(e)(11)). X Corp.
 5   does not allege, for example, any “corruption” of the Licensed Materials, id. at 1660; necessary
 6   “data restoration,” Andrews, 932 F.3d at 1263; or “interruption of service,” id. In fact, X Corp. does
 7   not even allege that the CCDH Defendants accessed its own—as opposed to Brandwatch’s—
 8   servers. AC ¶ 36. And X Corp. does not own the public, user-generated content it shares with
 9   Brandwatch. See Ex. A at 13 (providing that users own their content and grant X Corp. “a
10   worldwide, non-exclusive, royalty-free license”). On these facts, X Corp. clearly has failed to allege
11   any loss “related to remedying technological harms inflicted on the breached computer or system.”
12   Fraser v. Mint Mobile, LLC, No. 22 Civ. 138, 2022 WL 2391000, at *2 (N.D. Cal. July 1, 2022)
13   (dismissing CFAA claim for this reason).
14          At a minimum, X Corp.’s attorney’s fees for “enforcing [its] agreements” with third parties
15   are clearly not the type of loss recognized by the CFAA. See Delacruz v. State Bar of Cal., No. 16
16   Civ. 6858, 2018 WL 3077750, at *8 (N.D. Cal. Mar. 12, 2018) (“[L]egal expenses are not a
17   cognizable loss under the CFAA.”); Saffron Rewards, Inc. v. Rossie, No. 22 Civ. 2695, 2022 WL
18   2918907, at *9 (N.D. Cal. July 25, 2022). And X Corp. does not allege that, without counting those
19   immaterial attorney’s fees, its costs would still amount to at least $5,000. Domain Name Comm’n
20   Ltd. v. DomainTools, LLC, 449 F. Supp. 3d 1024, 1030 (W.D. Wash. 2020) (dismissing CFAA
21   claim where allegations “provide no basis on which to allocate the alleged losses between” the
22   cognizable and non-cognizable). For this reason, too, Count 2 must be dismissed.
23                  3.      X Corp. fails to specify the CFAA subsection it alleges was violated
24          This Court should also dismiss Count 2 because X Corp. does not even specify which
25   subsection of the CFAA the CCDH Defendants supposedly violated. See Song v. Drenberg, No. 18
26   Civ. 6283, 2019 WL 1998944, at *5-6 (N.D. Cal. May 6, 2019) (dismissing a CFAA claim on this
27   basis). Notably, while X Corp. at times seems to allege fraud-based access without authorization,
28   see AC ¶ 82, such a claim requires unlawful access to a computer with “intent to defraud” and “by



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 1   means of such conduct further[ing] the intended fraud,” § 1030(a)(4); see United States v. Nosal,
 2   844 F.3d 1024, 1032 (9th Cir. 2016), neither of which X Corp. alleges here with even minimal
 3   specificity, see Fed. R. Civ. P. 9(b); Nowak v. Xapo, Inc., No. 20 Civ. 3643, 2020 WL 6822888, at
 4   *3 (N.D. Cal. Nov. 20, 2020) (dismissing a § 1030(a)(4) claim that omitted “the who, what, when,
 5   where, and how of the misconduct”); Oracle Am., Inc. v. Service Key, LLC, No. 12 Civ. 790, 2012
 6   WL 6019580, at *6-7 (N.D. Cal. Dec. 3, 2012) (similar).
 7          D.      X Corp. Fails to State a Claim in Tort (Counts 3 and 4)
 8          Counts 3 (intentional interference with contractual relations) and 4 (inducing breach of
 9   contract) fare no better. For starters, they are redundant. In California, “inducing breach of
10   [contract]” is merely “a species of intentional interference with contractual relations.” 1-800
11   Contacts, Inc. v. Steinberg, 132 Cal. Rptr. 2d 789, 802 (Cal. Ct. App. 2003). The sole difference is
12   that inducing breach requires a breach, whereas interference may involve disruption short of a
13   breach. Pac. Gas & Elec. Co. v. Bear Stearns & Co., 791 P.2d 587, 592 (Cal. 1990). But here, the
14   only form of “interference” X Corp. pleads in Count 3 is inducement of the breach alleged in Count
15   4. See AC ¶ 93 (alleging that “Defendants’ conduct prevented Brandwatch from performing”);
16   Russomanno v. Fox Child.’s Network, No. B143105, 2004 WL 2137405, at *21 (Cal. Ct. App. Sept.
17   24, 2004) (allegation that counterparty “fail[ed] to perform” is “the functional equivalent” of
18   alleging breach). Accordingly, the Court should dismiss Count 4 as duplicative. See, e.g., Lesnik v.
19   Eisenmann SE, 374 F. Supp. 3d 923, 954 (N.D. Cal. 2019).
20          In any event, these claims fail for even more basic reasons. X Corp. must adequately plead
21   (among other elements) that the CCDH Defendants’ intentional acts caused or induced the alleged
22   breach by Brandwatch; that Brandwatch actually breached its contracts with X Corp.; that the
23   CCDH Defendants knew of the relevant contractual terms and intended to induce a breach; and that
24   X Corp. suffered resulting damage. See United Nat’l Maint., Inc. v. San Diego Convention Ctr.,
25   Inc., 766 F.3d 1002, 1006 (9th Cir. 2014). As explained below, its pleading does not come close.
26                  1.     X Corp.’s pleading shows the CCDH Defendants did not cause a breach
27          To state a claim for relief in tort, X Corp. must allege that each Defendant induced or caused
28   any breach by Brandwatch. See, e.g., Bank of N.Y. v. Fremont Gen. Corp., 523 F.3d 902, 909 (9th



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 1   Cir. 2008); Moser v. Encore Cap. Grp., Inc., 455 F. App’x 745, 748 (9th Cir. 2011). As case after
 2   case illustrates, an interference claim lies where the defendant’s acts pushed a contracting party to
 3   act in a way that disrupted the contract.16 But here, even if X Corp.’s pleading established a breach
 4   by Brandwatch (and, as explained below, it does not), it would not allege facts showing that the
 5   CCDH Defendants induced that breach. To the contrary, X Corp’s allegations show that any breach
 6   occurred independently of (and, by necessity, before) the CCDH Defendants’ actions.
 7            Because inducement and causation are questions of law, this Court need not accept as true
 8   X Corp.’s conclusory assertions of causation couched as factual allegations. See Iqbal, 556 U.S. at
 9   678. Setting aside those assertions, the relevant factual allegations are as follows:
10           Brandwatch agreed in a contract with X Corp. not to “allow others to . . . transfer or provide
11            access to . . . the Licensed Material” and to generally “keep ‘Twitter Content’ secure.” AC
              ¶ 31.
12
             The CCDH Defendants did not cause Brandwatch to undertake any act or omission in
13            breach of the contract, nor to change its behavior in any way, as their access was allegedly
14            “unknown to Brandwatch . . . until recently.” AC ¶ 41.

15           Nevertheless, the CCDH Defendants “necessarily obtained access to and accessed the
              Licensed Materials improperly and without authorization,” id., and that access, in and of
16            itself, “prevented Brandwatch from performing” because it meant that “Brandwatch failed
              to secure the data.” AC ¶ 92.
17
18            The glaring flaw in this logic is that the CCDH Defendants’ alleged actions did not induce
19   or cause Brandwatch to do anything at all. In fact, taking X Corp.’s factual allegations as true, the
20   causal chain is precisely backwards: the access did not cause the breach, the breach caused the
21   access. The Court should therefore dismiss or strike Counts 3 and 4.
22                   2.      X Corp. has not pleaded any disruption or breach
23            Separately, X Corp. does not plead a breach of the “Brandwatch Agreements.” AC ¶ 32. To
24   begin with, X Corp. fails to attach the Brandwatch Agreements (which Defendants have never seen)
25
     16
26      See, e.g., Jenni Rivera Enters., LLC v. Latin World Ent. Holdings, Inc., 249 Cal. Rptr. 3d 122,
     129 (Cal. Ct. App. 2019) (defendant induced counterparty to breach nondisclosure agreement);
27   Savage v. Pac. Gas & Elec. Co., 26 Cal. Rptr. 2d 305, 315 (Cal. Ct. App. 1993) (defendant
     persuaded plaintiff’s employer to terminate employment agreement); SCEcorp v. Super. Ct. of San
28   Diego Cnty., 4 Cal. Rptr. 2d 372, 373-74, 378 (Cal. Ct. App. 1992) (defendant forced counterparty
     to abandon merger).

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 1   to its Amended Complaint, and it quotes only a few phrases purportedly from those agreements.
 2   See AC ¶¶ 29-33 & n.1. And even X Corp.’s limited quotations of the Brandwatch Agreements do
 3   not establish any breach by Brandwatch. According to X Corp., the Brandwatch Agreements
 4   prohibit Brandwatch from “allow[ing] others to . . . transfer or provide access to . . . the Licensed
 5   Material to any third party.” AC ¶¶ 31, 33. But, as noted in Section V.C.1, supra, under X Corp.’s
 6   allegations and the Brandwatch terms, CCDH was not a “third party,” but rather a “User.” Because
 7   X Corp. fails to plead facts showing that any “Licensed Material” was accessed by a “third party,”
 8   AC ¶¶ 31, 33, as opposed to a “User,” it has not pleaded a breach by Brandwatch.
 9                  3.      X Corp. fails to plausibly allege the CCDH Defendants’ knowledge
10          Even more obviously, X Corp.’s non-conclusory allegations do not establish the CCDH
11   Defendants’ knowledge of the Brandwatch Agreements (which the CCDH Defendants have never
12   seen), nor their intent to cause any breach. X Corp. alleges in conclusory fashion that “CCDH knew
13   at all relevant times that the Brandwatch Agreements prohibit Brandwatch from allowing third
14   parties to . . . access, distribute, create derivative works from, or otherwise transfer the Licensed
15   Materials.” AC ¶ 42. But X Corp.’s only purported basis for this allegation is that the CCDH
16   Defendants “knew, based on their experience . . . purporting to analyze data associated with social
17   media platforms,” that “X Corp. must have contracts with Brandwatch, and that Brandwatch would
18   be prohibited under the terms of [those contracts] from providing access to unauthorized parties.”
19   AC ¶ 91. That speculation is facially implausible—particularly because, as explained in Section
20   V.C.1, supra, the Brandwatch terms show that the CCDH Defendants could be, and were, a valid
21   “User” on ECF’s account, not an “unauthorized part[y].” AC ¶ 91. Because this “deduction[] of
22   fact” is “unwarranted,” this Court “need not . . . accept [it] as true.” Sprewell, 266 F.3d at 988.
23                  4.      X Corp. again fails to allege recoverable damages
24          Counts 3 and 4 also fail because X Corp. once again fails to allege recoverable damages.
25   As with X Corp.’s claim in contract, “resulting damage” is a necessary element of its tort claims.
26   United Nat’l Maint., Inc., 766 F.3d at 1006. And again, the only damages X Corp. seeks are “tens
27   of millions of dollars” in revenue it says it lost based on how advertisers reacted to the CCDH
28   Defendants’ speech. AC ¶¶ 92-93, 98-99. But these damages are unrecoverable twice over.



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 1          First, the same constitutional principles that prohibit X Corp. from recovering publication
 2   damages on its contract claim, see Section V.B.3, supra, apply with equal force to its tort claims.
 3   Once again, X Corp. seeks damages not for direct costs inflicted by the CCDH Defendants’ use of
 4   Brandwatch, but for the independent acts of third parties in response to the CCDH Defendants’
 5   speech regarding issues of public concern. For the reasons explained above, this is impermissible.
 6          Second, X Corp. fails to allege that any breach by Brandwatch proximately caused the
 7   damages it seeks. Indeed, X Corp.’s attempt to claim damages for lost advertising revenue is utterly
 8   disconnected from the specific breach X Corp. alleges: Brandwatch’s supposed failure to secure
 9   data. After this purported breach, the CCDH Defendants allegedly used the data to publish articles,
10   AC ¶ 65, which non-party advertisers “viewed,” AC ¶ 67, after which they decided to “pause[] paid
11   advertising,” AC ¶¶ 67, 70, leading X Corp. to lose revenue, AC ¶ 70. Compare that to an individual
12   inducing someone to violate a nondisclosure agreement, entitling the counterparty to seek damages
13   for lost “economic opportunities to publish a book or produce or sell a television show . . .
14   containing the information” that was supposed to be confidential but is now public. Jenni Rivera
15   Enters., LLC, 249 Cal. Rptr. 3d at 147. By contrast, the supposed causal chain that X Corp. tries to
16   trace here is far too attenuated to constitute proximate cause.
17          E.      X Corp. Fails to State Any Claim Against the Doe Defendants
18          Finally, X Corp. does not come close to stating any plausible, non-conclusory claim against
19   the Doe Defendants. “A claim has facial plausibility when the plaintiff pleads factual content that
20   allows the court to draw the reasonable inference that the defendant is liable for the misconduct
21   alleged.” Iqbal, 556 U.S. at 678. Here, X Corp. alleges that “CCDH is acting . . . at the behest of
22   and in concert with” dozens of Doe Defendants “in the course and scope of . . . agency and/or acting
23   with the permission, consent, authorization or ratification of these unknown funders, supporters,
24   and other entities, who are aware of and knowingly participating in the unlawful conduct alleged
25   herein.” AC ¶ 63. This allegation, even vaguer than the attempts to plead conspiracies in Twombly
26   and Iqbal, is “nothing more than a ‘formulaic recitation’” of legal elements and is “disentitle[d] . . .
27   to the presumption of truth” based on its “conclusory nature” (let alone its facial implausibility).
28   Iqbal, 556 U.S. at 682 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).



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 1                                            *       *      *
 2          This Court should not allow X Corp. another opportunity to replead. X Corp. has already
 3   exercised an opportunity to amend, yet its pleading remains woefully deficient. Moreover, leave to
 4   amend is inappropriate where alleging additional facts would be futile. Lopez v. Smith, 203 F.3d
 5   1122, 1127 (9th Cir. 2000) (en banc). As explained above, each of X Corp.’s claims suffers fatal
 6   deficiencies that cannot be fixed by adding new allegations. In fact, the CCDH Defendants have
 7   provided information to X Corp. that squarely disproves its already-insufficient allegations as to
 8   unauthorized Brandwatch use, without which Counts 2, 3, and 4 of the Amended Complaint lack
 9   any basis at all. Finally, leave is especially unwarranted after a successful motion under the anti-
10   SLAPP statute, “the purpose of which is to eliminate ‘sham [or] facially meritless’ allegations at
11   the pleading stage,” Flores v. Emerich & Fike, No. 5 Civ. 291, 2006 WL 2536615, at *7 (E.D. Cal.
12   Aug. 31, 2006) (quoting Simmons v. Allstate Ins., 112 Cal. Rptr. 2d 397, 400 (Cal. Ct. App. 2001)),
13   and “provide for a speedy resolution of claims which impinge on speech protected by the First
14   Amendment,” Smith v. Santa Rosa Democrat, No. 11 Civ. 2411, 2011 WL 5006463, at *7 (N.D.
15   Cal. Oct. 20, 2011). “In these circumstances, leave to amend is not necessary or appropriate.” Id.
16   VI.    CONCLUSION
17          For the foregoing reasons, the Court should grant the undersigned Defendants’ special
18   motion to strike Counts 1, 3, and 4 and grant the undersigned Defendants’ motions to dismiss Count
19   2 with prejudice. Alternatively, the Court should dismiss the Amended Complaint in full and with
20   prejudice or, at minimum, strike X Corp.’s allegations pertaining to damages based on the
21   undersigned Defendants’ speech and reporting.
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 1   Dated: November 16, 2023                       ___________________
            New York, New York                      Roberta A. Kaplan*
 2
                                                    John C. Quinn*
 3                                                  Matthew J. Craig (SBN 350030)
                                                    Amit Jain*
 4                                                  KAPLAN HECKER & FINK LLP
                                                    350 Fifth Avenue, 63rd Floor
 5
                                                    New York, NY 10118
 6                                                  (212) 763-0883
                                                    rkaplan@kaplanhecker.com
 7                                                  jquinn@kaplanhecker.com
 8                                                  mcraig@kaplanhecker.com
                                                    ajain@kaplanhecker.com
 9                                                  * admitted pro hac vice
10                                                  Marc S. Williams (SBN 198913)
11                                                  Neil S. Jahss (SBN 162744)
                                                    COHEN WILLIAMS LLP
12                                                  724 South Spring Street, 9th Floor
                                                    Los Angeles, CA 90014
13                                                  213-232-5160
14                                                  mwilliams@cohen-williams.com
                                                    njahss@cohen-williams.com
15
                                                    Attorneys for Defendants Center for
16                                                  Countering Digital Hate, Inc. and Center for
17                                                  Countering Digital Hate Ltd.

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